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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

WILLIE MOODY, JR.,                     )
                                       )
      Plaintiff,                       )
                                       )
             v.                        )     Civil Action No. 2:19-cv-730
                                       )
SES OF MONTGOMERY, LLC,                )
                                       )
      Defendant.                       )
                    JOINT STIPULATION OF DISMISSAL
      COME NOW the Plaintiff, Willie Moody, Jr. and Defendant SES of

Montgomery, LLC, by and through undersigned counsel of record, and stipulate to

the dismissal with prejudice of all counts against Defendant with each party to bear

their own cost. See Fed. R. Civ. P. 41(a)(1)(A)(ii).

                                s/Bridget M. Ballentine
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                                s/T. Grant Sexton, Jr.
                                T. GRANT SEXTON, JR. (ASB-0915-S40S)
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